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 8
                                  UNITED STATES DISTRICT COURT
 9                               NORTHERN DISTRICT OF CALIFORNIA
10
     IN RE: ROUNDUP PRODUCTS                                MDL No. 2741
11   LIABILITY LITIGATION                                   Case No. 3:16-md-02741-VC
12
     This document relates to:
13
     Pennie, et al., v. Monsanto Co., et al.,
14   Case No. 3:17-cv-01711-VC

15               CERTIFICATION OF INTERESTED ENTITIES OR PERSONS
             OF WILBUR-ELLIS COMPANY LLC AND WILBUR-ELLIS FEED, LLC
16

17           Pursuant to Civil L.R. 3-15, the undersigned certifies that the following listed persons,

18   associations of persons, firms, partnerships, corporations (including parent corporations) or other

19   entities (i) have a financial interest in the subject matter in controversy or in a party to the

20   proceeding, or (ii) have a non-financial interest in that subject matter or in a party that could be

21   substantially affected by the outcome of this proceeding:

22           Wilbur-Ellis Holdings, Inc.

23           Wilbur-Ellis Holdings II, Inc.

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                             WILBUR-ELLIS’ CERT. OF INT. ENTITIES OR PERSONS
                                   3:16-md-02741-VC & 3:17-cv-01711-VC
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 1   DATED: April 6, 2017                      Respectfully submitted,
 2
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                        WILBUR-ELLIS’ CERT. OF INT. ENTITIES OR PERSONS
                              3:16-md-02741-VC & 3:17-cv-01711-VC
